 

Case 1:17-cv-02017-SHR Document 1 Filed 11/03/17 Page 1 of 22

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|N THE UN|TED STATES DlSTRlCT COURT
FOR THE MlDDLE DlSTRlCT OF PENNSYLVAN|A

JENN|FER POSGA| and
TODD POSGA|,
Her Husband
Plaintiffs, :
v. : ClV|L ACT|ON NO:

KOSTAD|N SLAVKOV and
SEVEN HiLLS TRANSPORTATION,
|NC.

oefendants. § JURY TR|AL DEMANDED

COMPLA|NT
COME NOW, the P|aintiffs, Jennifer Posgai and Todd Posgai, her
husband, Who, by and through their undersigned counse|, Lenahan &
Dempsey, P.C., by Ke||y J. Lenahan, Esquire, aver as follows against the

Defendants, Kostadin Slavkov and Seven Hi||s Transportation, |nc.:

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 2 of 22

1. P|aintiffs, Jennifer Posgai (Plaintiff Wife) and Todd Posgai
(Plaintiff Husband), her husband, are adult, competent individuals currently
residing at 10507 Aspen Wood Court, l\/lanassas, Virginia. At all times
relevant herein, Jennifer Posgai and Todd Posgai, are/Were legally husband
and Wife.

2. Defendant, Kostadin Slavkov, (Defendant Driver) is, upon
information and belief, a competent adult individual, Who presently resides at
18685 Queen Circle N.W., Elk River, l\/ll 55330.

3. Defendant, Seven Hills Transportation, lnc. (hereinafter
Defendant Trucking) is, upon information and belief, a corporation, licensed
by the l.C.C. and engaged in the trucking industry, Which services several
U.S. states, including the Commonwealth of Pennsylvania, and Which has a
primary business address of 1450 New Wilke Road, #206, Arlington Heights,
lllinois, and Which regularly hauls freight in the Commonwealth of
Pennsylvania.

4. At all times pertinent hereto, Defendant Driver, Kostadin
Slavkov, Was the agent, servant, Workman and/or employee of Defendant
Trucking, and Was acting Within the course and scope of his employment

5. Jurisdiction for this Federal lawsuit is founded upon complete

diversity of citizenship and a claim in excess of $75,000 pursuant to 28

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 3 of 22

U.S.C. §1332. Venue for this claim is within the United States District Court
for the l\/liddle District of Pennsylvania, which is where the cause of action
arose and the injuries of the P|aintiff Wife, as described herein, took place.

6. At all times relevant herein, P|aintiff Wife, Jennifer Posgai, was
the owner/operator of a 2009 Volkswagen Jetta, registered in the
Commonwealth of Virginia and bearing license plate number 8883BBB.
(Her passenger, Lana Posgai was also injured in this collision and is a
plaintiff in a companion case filed in This Court)

7. At all times pertinent hereto, Defendant Driver, Kostadin
Slavkov, was the operator of a 2007 Volvo tractor trailer, registered in the
State of lllinois, bearing license plate P785515, which vehicle was owned by
Defendant Trucking.

8. At approximately 6:21 pm, on December 7, 2015, P|aintiff Wife,
Jennifer Posgai, was involved in a severe motor vehicle collision caused by
Defendant Driver, Kostadin Slavkov, on Route 15 South (Blue and Grey
Highway) in Straban Township, Adams County, Pennsylvania.

9. Defendant Driver was operating the aforementioned tractor
trailer on Route 15 South in the left/passing lane, when he merged into the
right lane. At that time, the right lane was then and there occupied by the

Posgai vehicle, which was being driven by P|aintiff Wife, Jennifer Posgai.

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 4 of 22

10. Because Defendant Driver negligently operated the tractor
trailer in this way, his tractor trailer collided with the Posgai vehicle, which
was lawfully and appropriately traveling in the right lane.

11. At all times relevant herein, Defendant Driver, failed to use
proper and due care under the circumstances which would have alerted him
to the Posgai vehicle, which was already traveling in the adjacent right |ane.

12. Because this lane was already occupied by the P|aintiff Wife’s
vehicle, the Defendants’ tractor trailer struck the Posgai vehicle on the
driver’s side with sufficient force that P|aintiff Wife suffered severe personal
injuries.

13. At all times relevant herein, the impact/collision, which resulted
from the tractor trailer striking the Posgai vehicle, occurred in right lane of
travel occupied by the Posgai vehicle, and not in the tractor trailer’s lane of
travel.

14. lt is believed and averred that Defendant Driver, in the course
and scope of his employment with Defendant Trucking, was not attentive to
the roadway and road conditions, then and there existing, and was operating
the tractor trailer with careless disregard to other motorists on the roadway,

including P|aintiff Wife, thereby causing the aforementioned collision.

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 5 of 22

15. lt is further believed and averred Defendant Driver was
operating the tractor trailer while excessively fatigued, and/or in excess of
his regulated hours of travel, which rendered it unsafe for him to travel upon
the roadways of the Commonwealth of Pennsylvania. By operating this
tractor trailer while excessively fatigued, he failed to give sufficient attention
to the roadway, in reckless disregard to the motoring public including
P|aintiff Wife.

16. The aforementioned conduct demonstrates a reckless
indifference to the safety of the Plaintiff, and subjects Defendant Driver to
punitive damages, as described in Count ll of Plaintiff’s Complaint.

17. Because Defendant Driver was operating this tractor trailer in
the course and scope of his employment with Defendant Trucking,
Defendant Trucking is also vicariously liable for all punitive damages
assessed against its employee, Defendant Driver, for the reasons set forth
in Count ll, by operation of Shiner v. Moriaritv, 706 A.2d 1228 (Pa. Super.
199

18. At all times relevant to the Complaint, P|aintiff Wife was not
negligent in a contributory or comparative fashion, as the collision occurred

in her lane of travel due to careless lane changing by Defendant Driver.

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 6 of 22

19. At all times relevant to this Complaint, P|aintiff Wife resided in
the Commonwealth of Virginia and is not subject to Pennsylvania tort
selection regulations Additionally, the aforementioned tractor trailer was a
_ vehicle registered in the State of lllinois. Therefore, tort selection is
inapplicable pursuant to 75 Pa. C.S.A. §1705 (d)(1)(ii).

20. As a direct and proximate result of the aforesaid collision,
P|aintiff Wife sustained serious permanent personal injuries, loss and
disabilities including but not limited to:

a. closed head injury;

b. post concussive syndrome;
c. post traumatic headaches;

d. cervical spine injury;

e. severe bilateral hip pain;

f. visual impairments;

g. visual tracking abnormalities;
h. visual perceptual abnormalities;
i. intermittent vertical diplopia;
j. balance impairments;

k. dizziness;

l. restricted movement and range of motion in head and neck;

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 7 of 22

m. muscular spasticity and tightness in cervical spine;

n. cognitive impairments;

o. post-traumatic stress disorder;

p. aggravation of pre-existing conditions;

q. muscle spasms;

r. weakness in affected areas;

s. diffuse and traumatic injuries to the bones, joints, tissues, and
muscles of P|aintiff Wife’s entire body; and

t. any and all injuries listed in P|aintiff Wife’s medical records.

21. Each of the aforementioned disabling injuries, losses, and
disabilities sustained by P|aintiff Wife as a result of the subject collision
have caused and will cause pain for an indefinite time in the future and
continue to cause great pain, agony and suffering, both physical and mental,
which will require future medical care for the lifetime of P|aintiff Wife.

22. As a direct and proximate result of the negligent and careless
actions of the Defendants, P|aintiff Wife was forced to undergo medical
treatment and testing, including, but not limited to: medical facility visits, x-
rays, l\/lRls, physical therapy, injection therapy, use of pain medications, and

all other treatment and therapies listed in P|aintiff Wife’s medical records.

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 8 of 22

23. As a further result of the aforesaid accident and injuries
sustained, P|aintiff Wife has, and will/may, forever in the future, be forced to
expend various and substantial sums of money for medicine and medical
attention in and about endeavoring to treat and cure her injuries, all to her
financial loss and damage.

24. As a result of the aforesaid accident and injuries sustained,
P|aintiff Wife has been, and continues to be, unable to go about her daily
occupations and activities.

25. As a result of the aforesaid accident and injuries sustained,
P|aintiff Wife has suffered and will for an indefinite time into the future suffer
physical pain, mental anguish, humiliation, embarrassment, and loss of the
pleasures of everyday life.

26. As a result of the aforesaid accident and injuries sustained,
P|aintiff Wife will/may incur financial expenses which do or may exceed
amounts which she may be otherwise entitled to recover.

27. As a direct and proximate result of the negligence and
carelessness of the Defendants, P|aintiff Wife has experienced the
following harm, damages and losses:

a. Past, present, and future pain and suffering;

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 9 of 22

b. Past, present, and future emotional distress, embarrassment,
humiliation, and mental anguish;

c. Past, present, and future medical expenses;

d. Past, present, and future loss of life’s pleasures;

e. Past, present, and future disfigurement;

f. Past, present, and future disability, with loss of past, present,
and future loss of earnings and earning capacity.

28. P|aintiff Husband, Todd Posgai, alleges a claim for loss of
consortium based upon the injuries, disabilities, and losses to his spouse.
P|aintiff Husband has been, and will in the future continue to be deprived of
his wife’s aid, comfort, service, and society, companionship, and affection,
all to his great detriment and loss.

COUNT l
PLA|NT|FFS V. DEFENDANT DR|VER KOSTAD|N SLAVKOV
NEGL|GENCE

29. Plaintiffs repeat and re-allege each and every allegation and
averment set forth in paragraphs 1 through 28 above as if set forth at length
herein.

30. The negligent conduct of the Defendant Driver, consisted of the

following:

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 10 of 22

a) failure to properly control the tractor trailer he was
operating, thereby crossing into the adjacent lane
and crashing into P|aintiff Wife’s vehicle;

b) failure to keep a safe and adequate look out for
private passenger motor vehicles traveling in
adjacent travel lanes to avoid the type of collision
which occurred;

c) failure to negotiate a safe and careful lane change so
as to avoid striking another vehicle;

d) failure to take proper and evasive action so as to
avoid striking another vehicle;

e) operating the tractor trailer without due and proper
regard for the rights, safety and position of the
P|aintiff Wife;

f) operating the tractor trailer in such a manner as to
bring it into forcible contact with another’s vehicle;

g) failure to remain attentive and alert at all times;

h) failure to maintain a proper and adequate lookout of

the roadway and traffic conditions;

10

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 11 of 22

i) operating the tractor trailer at a high and excessive
rate of speed under the circumstances then and
there existing;

j) creating a hazardous situation by failing to look for
and observe P|aintiff Wife’s vehicle in the adjacent
lane immediately to his right before negotiating a lane
change;

k) failing to maintain the tractor trailer in proper
mechanical and operating condition;

l) failing to yield the right-of-way to the vehicle then
operated by P|aintiff Wife;

m) failure to abide by the traffic laws of the
Commonwealth of Pennsylvania;

n) driving the tractor trailer unit in careless disregard to
P|aintiff Wife;

o) failing to stay or remain in his own, proper, lane of
travel;

p) failing to obey the rules of the road, the statutes of
the Commonwealth of Pennsylvania and the

ordinances of Straban Township, in and about

11

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 12 of 22

‘ operating the tractor trailer on the highways and
roadways of the Commonwealth of Pennsylvania;

q) operating the tractor trailer in violation of the rules
and regulations of the Federal l\/lotor Carrier Safety
Administration (“Fl\/lCSA”);

r) driving beyond hours of service requirements;

s) driving with log book violations;

t) operating the aforesaid tractor trailer when he knew
or should have known that he was excessively tired
and/or fatigued to do so in a safe and reasonable
manner;

u) failing to properly control his tractor trailer unit in light
of the circumstances then and there existing;

v) failing to react reasonably and appropriately in
response to the traffic conditions and roadway design
then and there existing;

w) failing to make necessary and reasonable
observations while operating his tractor trailer unit;

x) failing to utilize appropriate safety equipment;

12

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 13 of 22

y) failing to provide warning to other motorists on the
roadway of his dangerous and unsafe lane change;

z) violating both the written and unwritten policies, rules,
guidelines and regulations of Defendant Trucking;

aa)failing to apprise himself of and/or abide by the
written and unwritten policies, procedures and/or
guidelines of the Defendant Trucking;

bb)failing to apprise himself of the Fl\/lCSA;

cc) failing to apprise himself of and/or abide by the
regulations and laws pertaining to the operation of
commercial vehicles;

dd)failing to perform and/or adequately perform a pre-
trip inspection;

ee)operating his tractor trailer unit when he knew or
should have known that he was unable to operate
the vehicle in a safe and reasonable manner;

ff) continuing to operate his tractor trailer unit when he
knew or should have known that further operation
would pose an unreasonable risk of injury and/or

harm to those traveling upon the roadway;

13

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 14 of 22

gg)failing to ensure the tractor trailer that he was
operating was sufficiently conspicuous to other
motorist operating on the roadway;

hh)failing to comply with industry standards;

ii) driving while excessively tired or overly fatigued, and
in violation of his regulated hours of operation of a
tractor trailer.

31. The negligent actions of the Defendant Driver, were a factual
cause of the Plaintiffs’ harm, injuries and all of the damages, all of which
have been set forth in the preceding and proceeding paragraphs of this
Complaint.

32. At all times pertinent hereto, Defendant Driver was the agent,
servant, and/or employee of Defendant Trucking and was acting within the
scope and course of that authority, agency, employment and consent at the
time of the subject motor vehicle collision, making Defendant Trucking
vicariously liable for his tortious conduct.

WHEREFORE, the P|aintiffs, Jennifer Posgai and Todd Posgai , her
husband, demand judgment against the Defendant, Kostadin Slavkov, in an
amount in excess of $75,000.00 plus costs and interest as the Court and jury

may award.

14

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 15 of 22

COUNT ll
PLAlNT|FFS V. DEFENDANT DR|VER KOSTAD|N SLAVKOV
RECKLESSNESS
33. Plaintiffs repeat and re-allege each and every allegation and
averment set forth in paragraphs 1 through 32 above as if set forth at length
herein.
34. ln addition to the above-referenced acts, P|aintiffs, Jennifer and
Todd Posgai, allege that the following actions/inactions constitute a reckless
and conscious indifference towards Plaintiffs’ rights and safety and the
consequences of Defendant Driver’s actions further demonstrate outrageous,
wanton and gross indifference as follows:
a) knowingly and deliberately violating the law by driving in excess of
allowed hours of safe operation;
b) driving while excessively fatigued or over tired which impaired his
reaction time and judgment to the extent that a collision resulted;
c) knowingly and deliberately operating the tractor trailer in a reckless

and endangering fashion by failing to follow applicable Federal

15

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 16 of 22

l\/lotor Carrier Safety Regulations, such as those that dictate driving
hours and operating a vehicle while excessively fatigued;

d) deliberately engaging in activity/inactivity that prevented his ability to
keep attentive to the roadway;

e) consciously engaging in the aforementioned conduct when
Defendant Driver knew or should have known that doing so posed
a risk to P|aintiff Wife and the motoring public in general;

f) knowingly and deliberately by his conduct, as aforesaid, being
consciously indifferent to the rights and safety of P|aintiff Wife.

g) knowingly violating the motor vehicle laws of the Commonwealth of
Pennsylvania and the Fl\/lCSA.

35. Plaintiffs allege that this conduct of the Defendant Driver as
alleged above, which is adopted herein and incorporated by reference,
constitutes a reckless and conscious indifference to the rights and safety of the
Plaintiffs and the consequences of Defendant Driver’s actions (as described
herein) further demonstrate outrageous, wanton, and gross indifference to the
rights of the Plaintiffs. As a result, Plaintiffs are entitled to an award of
punitive damages against the Defendant Driver.

WHEREFORE, the P|aintiffs, Jennifer Posgai and Todd Posgai, her

husband, demand judgment against the Defendant, Kostadin Slavkov, in an

16

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 17 of 22

amount in excess of $75,000.00 plus costs and interest, and punitive damages,

as the Court and jury may award.

COUNT lll
PLAlNT|FFS V. DEFENDANT TRUCKlNG
CGRPORATE NEGLlGENCE
36. Plaintiffs incorporate by reference and re-allege each and every
allegation and averment set forth in paragraphs 1 through 35 of this
Complaint above as if set forth at length herein,
37. The negligent and careless conduct of Defendant Trucking,
consisted of the following:
a) failing to properly train, monitor and supervise its employees,
drivers and/or agents, including Defendant Driver;
b) failing to adopt and/or enforce employee manuals and/or
training procedures;
c) permitting Defendant Driver to operate the subject tractor
trailer under its authority when it knew or should have known

that such operation posed a risk to others lawfully on the

roadway;

17

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 18 of 22

d) failing to adopt appropriate safety policies and procedures for
its employees, drivers and/or agents;

e) failing to instruct its employees, drivers and/or agents
regarding safe and proper negotiation of turns from the middle
travel lane;

f) failing to ensure its drivers, employees and/or agents were
aware of and complied with the laws of the Commonwealth of
Pennsylvania, the FlVlCSA regulations and local ordinances
pertaining to the safe operation of freightliners;

g) failing to require that his drivers attend safety meetings;

h) failing to hire and train competent drivers to operate vehicles,
driven under its authority, in a safe and effective manner;

i) failing to thoroughly investigate the background of Defendant
Driver regarding his ability to safely operate a tractor trailer;

j) allowing a tractor trailer to be driven under its direction,
control or authority when it knew or should have known that
Defendant Driver would operate the aforementioned vehicle

negligently, recklessly, and/or carelessly;

18

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 19 of 22

k) failing to thoroughly monitor and evaluate the driving
performance of Defendant Driver before hiring him to drive
the aforementioned tractor trailer at its direction and control;

l) failing to ensure that Defendant Driver was adequately
trained and experienced to operate a tractor-trailer and
conduct all necessary aspects of safe operation;

m)failing to supervise employees, drivers or agents, particularly
Defendant Driver, to ensure proper and safe operation of
tractor-trailers driven under its authority;

n) failing to supervise employees, drivers, or agents, particularly
Defendant Driver, to ensure its drivers are keeping proper
log books;

o) failing to supervise employees, drivers or agents, particularly
Defendant Driver, to ensure its drivers are not exceeding
travel hours or driving while excessively fatigued or tired;

p) failing to provide appropriate training to its employees, drivers
or agents, such as Defendant Driver, to avoid or lessen the
likelihood of collisions wherein its driver crosses/merges into
the adjacent lanes of travel without yielding to the traffic

already occupying that lane;

19

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 20 of 22

q) allowing a vehicle to be driven under its control and authority
on the roads of this Commonwealth without due regard to the
safety of others traveling on the roads; and

r) carelessly allowing a large commercial vehicle to be driven
under its control and authority when it knew or should have
known that Defendant Driver was incapable of safe driving
and/or would attempt unreasonably unsafe maneuvers.

38. The negligent actions of Defendant Trucking, were a factual
cause of the Plaintiffs’ injuries and all of the damages, all of which have
been set forth in the preceding and proceeding paragraphs of this
Complaint.

WHEREFORE, the P|aintiffs, Jennifer Posgai and Todd Posgai, her
husband, demand judgment against the Defendant Trucking, Seven Hills
Transportation, lnc. in an amount in excess of $75,000.00 plus costs and
interest, as the Court and jury may award.

COUNT lV
PLAlNT|FFS V. DEFENDANT TRUCKlNG
VlCAR|OUS L|ABlLlTY
39. Plaintiffs incorporate by reference and re-allege each and every

allegation and averment set forth in paragraphs 1 through 38 of this

Complaint above as if set forth at length herein.

20

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 21 of 22

40. As alleged herein, Defendant Driver was the agent, servant
and/or employee of Defendant Trucking at the time when this collision
occurred. l\/loreover, Defendant Driver was operating the tractor trailer rig,
which was involved in the collision in interstate commerce under the l.C.C.
Authority granted Defendant Trucking to allow it to operate its
trucking/hauling business in Pennsylvania. The rig driven by Defendant
Driver had placards on both the tractor and trailer units which confirmed that
said rig was being driven in interstate commerce by the agent, servant
and/or employee of Defendant Trucking.

41. By virtue of Pennsylvania’s Common Law and Federal Laws and
Regulations, Defendant Trucking is vicariously liable for all of the tortious
conduct of Defendant Driver.

42. Because Defendant Driver was operating this tractor trailer in
the course and scope of his employment with Defendant Trucking,
Defendant Trucking is also vicariously liable for all punitive damages
assessed against its employee, Defendant Driver, for the reasons set forth
in Count ll, by operation of Shiner v. Moriaritv, 706 A.2d 1228 (Pa. Super.
199).

WHEREFCRE, the P|aintiffs, Jennifer Posgai and Todd Posgai, her

husband, demand judgment against the Defendant Trucking, Seven Hills

21

 

 

 

Case 1:17-cv-O2017-SHR Document 1 Filed 11/03/17 Page 22 of 22

Transportation, lnc. in an amount in excess of $75,000.00 plus costs and
interest, and punitive damages, as the Court and jury may award.
Respectfully submitted,

\Lenahan & Dempsey, P. C.

By / § l 11
K.ellyd Lenahan, Esquire

 

 

22

 

 

